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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ADAM DOBSON,                             :   CIVIL ACTION NO. 1:16-CV-1958
                                         :
                   Plaintiff             :   (Chief Judge Conner)
                                         :
            v.                           :
                                         :
THE MILTON HERSHEY                       :
SCHOOL, et al.,                          :
                                         :
                   Defendants            :

                                     ORDER

      AND NOW, this 7th day of December, 2018, upon consideration of the motion

(Doc. 106) for leave to file a second amended complaint by plaintiff Adam Dobson

(“Dobson”), and upon reconsideration of our August 10, 2017 memorandum and

order (Docs. 50, 51), and for the reasons stated in the accompanying memorandum,

it is hereby ORDERED that:

      1.    The motion (Doc. 106) to file a second amended complaint is
            GRANTED in part and DENIED in part as follows:

            a.     Dobson is DENIED leave to add a claim under the UTPCPL and
                   to add a breach of contract claim as appears in the proposed
                   second amended complaint (Doc. 106-1).

            b.     Dobson is GRANTED leave to file a second amended complaint
                   consistent with the accompanying memorandum.

      2.    Dobson shall file the second amended complaint within fourteen (14)
            days of the date of this order, consistent with the above paragraph and
            the accompanying memorandum. In the absence of a timely filed
            second amended complaint, the above-captioned action shall proceed
            on the amended complaint in accordance with the accompanying
            memorandum.
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 3.   With the exception of intentional infliction of emotional distress (Count
      IX), the previously dismissed state law tort claims in Dobson’s
      amended complaint are REINSTATED. Count IX is DISMISSED
      without prejudice for the reasons provided in the accompanying
      memorandum.

 4.   The court’s August 10, 2017 memorandum and order (Docs. 50, 51) are
      VACATED.

 5.   Defendants’ motion (Doc. 92) for judgment on the pleadings is
      DISMISSED without prejudice as moot.

 6.   The parties’ joint motion (Doc. 126) to extend case management
      deadlines is DISMISSED as moot. In light of the memorandum and
      order of today’s date, the parties shall meet and confer and file a joint
      proposed scheduling order amending the current case management
      deadlines, (see Doc. 101), on or before Friday, December 28, 2018. The
      parties shall further advise the court whether today’s ruling moots or
      modifies the discovery dispute brought to the court’s attention on
      December 5, 2018. (See Doc. 125).



                                /S/ CHRISTOPHER C. CONNER
                                Christopher C. Conner, Chief Judge
                                United States District Court
                                Middle District of Pennsylvania
